        Case 2:19-cv-01984-DJC-CSK Document 61 Filed 06/14/24 Page 1 of 4


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13   Attorneys for Defendant
     Macloud Luntey
14
15                                   UNITED STATES DISTRICT COURT
16                                 EASTERN DISTRICT OF CALIFORNIA
17   LYNNE LOESCHER,                                    Case No.: 2:19-cv-01984 DJC CSK
18                            Plaintiff,
19          vs.                                         STIPULATION AND ORDER FOR
                                                        EXTENSION OF TIME
20   COUNTY OF PLUMAS, PLUMAS COUNTY
     SHERIFF GREG HAGWOOD, CALIFORNIA                   (DOC 59)
21   HIGHWAY PATROL OFFICER MACLOUD
     LUNTEY SERIAL NUMBER 21571, and                    Date: July 11, 2024
22   DOES 1through 50, inclusive,                       Time: 1:30 pm
23                                                      Courtroom: 10
                              Defendants.
                                                        Judge: Honorable Daniel J. Calabretta
24
                                                        Trial Date: TBA
25                                                      Action Filed: September 30, 2019
26
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                              STIPULATION AND ORDER FOR EXTENSION OF TIME
        Case 2:19-cv-01984-DJC-CSK Document 61 Filed 06/14/24 Page 2 of 4


 1          IT IS HEREBY STIPULATED by and between the parties, Plaintiff, LYNNE LOESCHER
 2   and Defendants and CHP OFFICER M. LUNTEY (collectively, the Parties), by and through their
 3   respective attorneys of record as follows:
 4      1. WHEREAS, on May 1, 2024, Defendant filed a Request for Modification of Scheduling
 5
            Order (Document 57) to extend the deadline for filing the Motion for Summary Judgment,
 6
            which was granted by the Court on May 2, 2024 (Document 58
 7
 8      2. WHEREAS, on May 7, 2024, Defendant filed a Motion for Summary Judgment set for
 9
            hearing on July 11, 2024 (Doc 59);
10
11      3. WHEREAS, Plaintiff’s opposition to the Motion for Summary Judgment is currently due on

12          June 17, 2024;
13
        4. WHEREAS, Plaintiff’s counsel had hearings on June 11, 2024, and June 12, 2024, in the
14
15          Eastern District of California, which have precluded the completion of the opposition to the

16          Motion for Summary Judgment;
17
        5. WHEREAS, Plaintiff’s counsel has a hearing on June 17, 2024, in the Eastern District of
18
19          California, which has further precluded the completion of the opposition to the Motion for

20          Summary Judgment;
21
        6. WHEREAS, Plaintiff’s counsel has conferred with Defendant’s counsel on June 11, 2024,
22
23          who has graciously agreed to a three-week extension for filing the opposition;

24
        7. WHEREAS, this is Plaintiff’s first request for an extension of time for this deadline;
25
26          NOW, THEREFORE, the parties, through their respective counsel, stipulate and agree, and

27   respectfully request the Court to order, the following:

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                              STIPULATION AND ORDER FOR EXTENSION OF TIME
        Case 2:19-cv-01984-DJC-CSK Document 61 Filed 06/14/24 Page 3 of 4


 1      1. Plaintiff’s deadline to file the opposition to Defendant’s Motion for Summary Judgment shall
 2          be extended by three weeks, from June 17, 2024, to July 8, 2024.
 3
 4      2. The hearing on Defendant’s Motion for Summary Judgment, currently set for July 11, 2024,

 5          shall be continued to August 3, 2024, or a date thereafter convenient for the Court.

 6
        3. All subsequent deadlines shall be extended accordingly.
 7
 8   Respectfully submitted,
 9
10   Dated: June 13, 2024                 LAW OFFICES OF LARRY L. BAUMBACH

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13                                                By: /s/ LARRY L. BAUMBACH
                                                     LARRY L. BAUMBACH
14                                                   Attorney for Plaintiff LYNNE LOESCHER
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16
     Dated: June 13, 2024                  OFFICE OF THE ATTORNEY GENERAL
17
18
19
                                                  By: /s/ JAMES W. WALTER
20
                                                     JAMES W. WALTER
21                                                   Attorneys for Defendant
                                                     CHP OFFICER M. LUNTEY
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                               STIPULATION AND ORDER FOR EXTENSION OF TIME
        Case 2:19-cv-01984-DJC-CSK Document 61 Filed 06/14/24 Page 4 of 4


 1                                                 ORDER
 2          The Court, having reviewed the Stipulation of the Parties and finding good cause, hereby
 3
     issues an Order to:
 4
            1.      Extend Plaintiff’s deadline to file the opposition to Defendant’s Motion for Summary
 5
     Judgment from June 17, 2024, to July 8, 2024.; and,
 6
 7          2.      Continue the hearing on Defendant’s Motion for Summary Judgment from July 11,

 8   2024, at 10:00 a.m. to August 22, 2024, at 1:30 p.m.
 9          3. Extend all subsequent deadlines in accordance with the new hearing date.
10   IT IS SO ORDERED.
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     Dated: June 14, 2024                             /s/ Daniel J. Calabretta
13
                                                      THE HONORABLE DANIEL J. CALABRETTA
14                                                    UNITED STATES DISTRICT JUDGE

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                             STIPULATION AND ORDER FOR EXTENSION OF TIME
